Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 1 of 28




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                     MIAMI DIVISION

                       CASE NO. 22-CV-24013-SCOLA/GOODMAN

   CHENMING ZHOU,



          Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A”,



         Defendants.
   ____________________________________________/

             REPORT AND RECOMMENDATIONS ON RENEWED MOTION
        FOR DEFAULT JUDGMENT AGAINST CERTAIN DEFAULTED DEFENDANTS

          In this patent infringement action, Chenming Zhou (“Plaintiff”) filed a renewed 1

   motion for default judgment against some (but not all) Defendants (collectively, the




   1       The Undersigned denied without prejudice and with leave to renew Plaintiff’s
   initial motion for default judgment due to issues with Plaintiff’s service of the Amended
   Complaint. [ECF No. 123]. Thereafter, Plaintiff filed a Corrected Proof of Service [ECF
   No. 127] and a Corrected Motion for Clerk’s Entry of Default [ECF No. 128]. After
   obtaining a Clerk’s Default [ECF No. 129], Plaintiff filed the instant, renewed motion
   seeking a default final judgment against some (but not all) Defendants. [ECF No. 131].
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 2 of 28




   “Defaulted Defendants”). 2 [ECF No. 131]. The Defaulted Defendants have not filed a

   response to Plaintiff’s renewed motion and the response deadline has now expired.

          United States District Judge Robert N. Scola, Jr. referred this motion to the

   Undersigned “for a report and recommendations, consistent with 28 U.S.C. § 636(b)(1)(B),

   Federal Rule of Civil Procedure 72, and Rule 1(d) of the Local Magistrate Judge Rules.”

   [ECF No. 133]. As explained below, the Undersigned respectfully recommends that

   Plaintiff’s Renewed Motion [ECF No. 131] be granted.

   I.     Background

          Plaintiff filed a one-count Amended Complaint for patent infringement in

   violation of 35 U.S.C. § 271. [ECF No. 10]. The Amended Complaint alleges that Plaintiff

   is the owner of “one (1) United States Design Patent, No. US D 955,664S, for an

   ornamental design of a pet center control seat (hereinafter ‘Plaintiff’s Patent’ or ‘664

   Patent’). Plaintiff’s Patent has been registered with the United States Patent and

   Trademark Office (‘USPTO’) and is protected from infringement under federal patent

   law.” Id. at ¶ 2.

          The Amended Complaint alleges that Defendants,

          [w]ithout Plaintiff’s authorization or license[,] . . . are manufacturing,
          importing, promoting, reproducing, offering for sale, selling, and/or
          distributing goods that incorporate and infringe Plaintiff’s Patent within

   2     Plaintiff seeks a default judgment against the Defaulted Defendants listed in
   Schedule A [ECF No. 131-3] of his motion.
                                             2
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 3 of 28




          this District through various Internet based e-commerce stores and fully
          interactive commercial Internet websites operating under the seller
          identification names set forth on Schedule “A” (the “Seller IDs”).

   Id. at ¶ 3. It further asserts that this “infringement is both deliberate and willful.” Id.

          Plaintiff alleges that due to Defendants’ unlawful conduct, he “is enduring

   continuous damages to his design patent at the hands of [ ] Defendants herein, who

   unlawfully reproduce goods utilizing Plaintiff’s Patent to sell for substantial profits” and

   that “the goodwill associated with Plaintiff’s Patent is being harmed by Defendants

   tricking and confusing the public.” Id. at ¶ 4.

          Plaintiff obtained a Clerk’s Default [ECF No. 29] and now seeks the entry of a

   default judgment against the Defaulted Defendants. [ECF Nos. 131; 131-3].

   II.    Applicable Legal Standard

          Federal Rule of Civil Procedure 55(a) states that “[w]hen a party against whom a

   judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

   failure is shown by affidavit or otherwise, the clerk must enter the party’s default.” A

   party may then apply to the District Court for a default final judgment. Fed. R. Civ. P.

   55(b)(2); Alfa Corp. v. Alfa Mortg. Inc., 560 F. Supp. 2d 1166, 1173 (M.D. Ala. 2008).

          A court may not enter a default final judgment based solely on the existence of a

   clerk’s default. Id. at 1174. Instead, a court is required to examine the allegations to see if

   they are well-pleaded and present a sufficient basis to support a default judgment on the


                                                  3
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 4 of 28




   causes of action. Id. (citing Nishimatsu Constr. Co., Ltd. v. Houston Nat’l Bank, 515 F.2d 1200,

   1206 (5th Cir. 1975)). 3 Only those factual allegations that are well-pleaded are admitted

   in a default judgment. Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987).

          The decision whether to enter a default judgment “is committed to the discretion

   of the district court.” Hamm v. DeKalb Cty., 774 F.2d 1567, 1576 (11th Cir. 1985). Default

   judgments are “generally disfavored” because this Circuit has a “strong policy of

   determining cases on their merits.” Surtain v. Hamlin Terrace Found., 789 F.3d 1239, 1244–

   45 (11th Cir. 2015). In addition to assessing whether the complaint adequately sets forth

   facts to support a plaintiff’s claims, a court considering the entry of a valid default

   judgment must “have subject-matter jurisdiction over the claims and have personal

   jurisdiction over the defendant.” Osborn v. Whites & Assocs. Inc., No. 1:20-cv-02528, 2021

   WL 3493164, at *2 (N.D. Ga. May 20, 2021) (citing Oldfield v. Pueblo De Bahia Lora, S.A., 558

   F.3d 1210, 1215 & n.13 (11th Cir. 2009)).

          A court may conduct a hearing on a motion for default judgment when, in order

   “to enter or effectuate judgment, it needs to: (A) conduct an accounting; (B) determine

   the amount of damages; (C) establish the truth of any allegation by evidence; or (D)

   investigate any other matter.” Fed. R. Civ. P. 55(b)(2); see also Tara Prods., Inc. v. Hollywood



   3       In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981), our appellate court held
   that all Fifth Circuit decisions issued before September 30, 1981 would become binding
   precedent in the Eleventh Circuit.
                                                   4
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 5 of 28




   Gadgets, Inc., 449 F. App’x 908, 911-12 (11th Cir. 2011) (noting that Rule 55(b)(2) “leaves

   the decision to hold an evidentiary hearing to the court’s discretion”).

   III.   Analysis

          “[B]efore entering a default judgment, the Court must ensure that it has

   jurisdiction over the claims and there must be a sufficient basis in the pleadings for the

   judgment entered.” Tissone v. Osco Food Servs., LLC, No. 19-CV-61358, 2021 WL 1529915,

   at *2 (S.D. Fla. Feb. 10, 2021), report and recommendation adopted, No. 19-61358-CIV, 2021

   WL 870526 (S.D. Fla. Mar. 9, 2021) (citing Nishimatsu, 515 F.2d at 1206).

          a.     Subject-Matter Jurisdiction

          The Amended Complaint [ECF No. 10] alleges a single cause of action under the

   Patent Act, 35 U.S.C. § 101, et seq. Title 28, United States Code, Section 1331 states that

   “[t]he district courts shall have original jurisdiction of all civil actions arising under the

   Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

          Moreover, section 1338(a) provides district courts with jurisdiction over civil

   actions arising under federal statutes relating to patents. 28 U.S.C. § 1338(a); see also Daka

   Rsch., Inc. v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule “A”, No. 22-

   CV-60246, 2023 WL 5310240, at *2 (S.D. Fla. July 14, 2023), report and recommendation

   adopted sub nom. Daka Rsch. Inc. v. Individuals, P’ships, & Unincorporated Ass’ns Identified on

   Am. Schedule “A”, No. 22-60246-CV, 2023 WL 5289258 (S.D. Fla. Aug. 17, 2023) (“[T]he


                                                 5
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 6 of 28




   Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

   (providing for federal question jurisdiction) and 1338 (governing actions involving

   patents, copyrights, and trademarks, among others).”). Therefore, the Court has subject-

   matter jurisdiction over this action.

          b.     Personal Jurisdiction

          In addition to subject-matter jurisdiction, a court must also have personal

   jurisdiction over each defendant. “A judgment rendered in the absence of personal

   jurisdiction is void and without legal effect.” Strange v. Nescio, No. 20-80947-CV, 2021 WL

   8945480, at *1 (S.D. Fla. Mar. 29, 2021) (citing Juris v. Inamed Corp., 685 F.3d 1294, 1335

   (11th Cir. 2012)). For this reason, “when deciding a motion for default judgment, a court

   has an affirmative duty to evaluate whether it has personal jurisdiction over the

   defendant and may raise the issue sua sponte.” Id.

          “The concept of personal jurisdiction comprises two distinct components:

   amenability to jurisdiction and service of process. Amenability to jurisdiction means that

   a defendant is within the substantive reach of a forum’s jurisdiction under applicable law.

   Service of process is simply the physical means by which that jurisdiction is asserted.”

   Baragona v. Kuwait Gulf Link Transp. Co., 594 F.3d 852, 855 (11th Cir. 2010) (citation

   omitted).




                                               6
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 7 of 28




                 i.     Service of Process

          Service of process is a jurisdictional requirement. “Generally, where service of

   process is insufficient, the court has no power to render judgment and the judgment is

   void.” In re Worldwide Web Sys., Inc., 328 F.3d 1291, 1299 (11th Cir. 2003). “[W]ithout

   proper service of process, the district court ha[s] no power to enter a default judgment

   against the [defendant].” Albert v. Discover Bank, No. 21-12011, 2022 WL 1184405, at *1

   (11th Cir. Apr. 21, 2022).

          Here, Plaintiff filed a motion seeking authorization for electronic service of process

   pursuant to Federal Rule of Civil Procedure 4(f)(3), which the Court granted. [ECF Nos.

   14; 17].

          The Court authorized Plaintiff to “serve the summonses, [the] [A]mended

   [C]omplaint and other filings, and discovery” on Defendants through e-mail and website

   posting by:

          a.     sending emails to each Defendant via the e-mail accounts provided
          by each Defendant as part of the data related to its e-commerce store,
          including customer service e-mail addresses and onsite contact forms, or by
          the e-commerce platform e-mail for each of the e-commerce stores, and in
          the email providing the address to Plaintiff’s designated website to
          Defendants; and

          b.      publicly posting a copy of the summonses, amended complaint, and
          all filings in this matter on [Plaintiff]’s designated website found at:
          https://www.dropbox.com/sh/7jxnlm9jugvu2lg/AABoMp7AKBqiwni_WP
          b_Uyca?dl=0


                                                7
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 8 of 28




   [ECF No. 17, p. 3].

          As noted above, the Undersigned denied Plaintiff’s initial motion for default

   judgment (without prejudice and with leave to refile) because Plaintiff failed to show that

   it had served the Defaulted Defendants with a copy of the Amended Complaint. [ECF

   No. 123]. 4

          Thereafter, Plaintiff filed a Corrected Proof of Service [ECF No. 127], indicating

   that Defendants had been served with a copy of the Amended Complaint via e-mail

   service and website posting:

          on January 13, 2023 (after having received e-mail contact information for
          Defendants), the Law Firm of Rubio & Associates PA effectuated service of
          process on the Defendants identified in Schedule A herein enclosed, by
          emailing copy [sic] of the Amended Complaint, Issued Summons and
          Sealed Temporary Restraining Order. In addition, service of process was
          also effectuated by publication by posting a true and correct copy of the
          Amended Complaint, Issued Summons and additional documents filed in
          this             case             on             the             website:
          https://www.dropbox.com/sh/7jxnlm9jugvu2lg/AABoMp7AK-
          Bqiwni_WPb_Uyca?dl=0.

   [ECF No. 127, p. 1 (footnote omitted)].

          Plaintiff explained that:

          Defendants were served on January 13, 2023, with the Amended Complaint,
          however, at the time of filing the prior proofs of service, Plaintiff

   4      As noted in the Undersigned’s Order, “Judge Scola did not authorize alternative
   service of process on Defendants until December 22, 2022. [ECF No. 17]. By then, the
   Amended Complaint had already been filed and was the operative pleading in the case.”
   [ECF No. 123, p. 4 n.4].
                                            8
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 9 of 28




          inadvertently stated it had served the Complaint, when in fact, it served
          the Amended Complaint. As such, this filing is being made to correct the
          inadvertent mischaracterization of the document that was served. This
          correction is also being made pursuant to ECF No. 123.

   Id. at 1, n.1 (emphasis added).

          Because Plaintiff complied with Judge Scola’s Order [ECF No. 17] authorizing

   alternative service of process over Defendants, Plaintiff has effectuated service of process

   on the Defaulted Defendants in the instant case. See Leading Edge Mktg. Inc. v. Individuals,

   P’ships & Unincorporated Ass’ns Identified on Schedule "A", No. 21-23480-CIV, 2022 WL

   16756952, at *2 (S.D. Fla. Nov. 7, 2022), report and recommendation adopted, No. 21-23480-

   CIV, 2022 WL 17144227 (S.D. Fla. Nov. 22, 2022) (finding defendants have been “properly

   served . . . with the [c]omplaint and summonses via email and Internet publication,

   consistent with the Court’s Order Authorizing Alternate Service”); Ain Jeem, Inc. v.

   Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule "A", No. 8:21-CV-1261-

   VMC-JSS, 2022 WL 2306858, at *2 (M.D. Fla. Jan. 27, 2022), report and recommendation

   adopted sub nom. Ain Jeem, Inc. v. Individuals, No. 8:21-CV-1261-VMC-JSS, 2022 WL 2306874

   (M.D. Fla. Feb. 15, 2022) (finding that “[the] [p]laintiff [had] properly effected service on

   [the] [d]efendants pursuant to Federal Rule of Civil Procedure 4(f)(3)” by complying with

   the court’s order authorizing alternate service of process).




                                                9
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 10 of 28




               ii.      Amenability to Jurisdiction

          The Amended Complaint alleges “[u]pon information and belief, Defendants are

   individuals, partnerships and/or business entities of unknown makeup, who either reside

   and/or operate in foreign jurisdictions.” [ECF No. 10, ¶ 8]. “The plaintiff has the burden

   of establishing a prima facie case of personal jurisdiction over a nonresident defendant.”

   Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1268–69 (11th Cir. 2002). “A

   plaintiff seeking the exercise of personal jurisdiction over a nonresident defendant bears

   the initial burden of alleging in the complaint sufficient facts to make out a prima facie

   case of jurisdiction.” United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009); see

   also Warner Bros. Ent. Inc. v. Phillips, No. 6:14-CV-1294-ORL-37, 2015 WL 4590519, at *3

   (M.D. Fla. July 28, 2015) (“Even in the default judgment context, as a threshold matter,

   the plaintiff bears the burden of pleading sufficient facts to make out a prima facie case of

   personal jurisdiction over non-resident defendants.”).

          In Leading Edge Mktg., Inc. v. Individuals, P’ships & Unincorporated Ass’ns Identified

   on Schedule “A”, this Court determined that it had “personal jurisdiction over the

   [d]efendants” because they had been served in accordance with the “Court’s order

   authorizing alternative service” of process and:

          [the] [d]efendants directly target their business activities toward consumers
          in the United States, including Florida, and . . . [were] reaching out to do
          business with Florida residents by operating one or more commercial,
          interactive internet stores on internet marketplaces where Florida residents
                                                10
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 11 of 28




         [could] purchase products bearing           infringing   and/or   counterfeit
         trademarks belonging to the [p]laintiff.

   No. 23-CV-21333, 2023 WL 3392684, at *2 (S.D. Fla. May 10, 2023).

         Similarly here, the Amended Complaint alleges that:

         9.     Defendants target their business activities towards consumers
         throughout the United States, including Florida and this District using the
         operation of Internet based e-commerce stores, such as Amazon.com, via
         Internet marketplace websites using their Seller IDs and additional seller
         identification aliases and domain names not yet known to Plaintiff.

                                              ***

         15.     Defendants . . . purposefully direct their sales of goods, utilizing
         Plaintiff’s Patent, to Florida residents by operating stores through online
         Platforms that offer shipping within the United States, including Florida
         and this District. [ ] Defendants infringe Plaintiff’s Patent in this District
         by manufacturing, importing, promoting, reproducing, offering for sale,
         selling, and/or distributing unauthorized reproductions of Plaintiff’s Patent
         through such Internet based e-commerce stores and fully interactive
         commercial Internet websites and Plaintiff’s claims arise out of these
         activities.

         16.    . . . Defendants are, upon information and belief, aliens engaged in
         infringing activities and causing harm within this District by advertising,
         importing, promoting, reproducing, offering for sale, selling, and/or
         distributing goods that incorporate and infringe Plaintiff’s Patent into this
         District[.]

   [ECF No. 10, ¶¶ 9, 15, 16 (emphasis added)].

         Plaintiff has shown that the Defaulted Defendants are amenable to personal

   jurisdiction in Florida. Because “a defaulted defendant is deemed to have admitted the



                                              11
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 12 of 28




   movant’s well-pleaded allegations of fact,” 5 these established facts provide a basis for this

   Court’s personal jurisdiction over the Defaulted Defendants. See TWOWS, LLC v.

   Individuals,   P’ships   &    Unincorporated     Ass’ns    Identified   on   Schedule   "A",   No.

   823CV00139WFJMRM, 2023 WL 2837693, at *2 (M.D. Fla. Apr. 7, 2023) (“[The] [p]laintiff

   has demonstrated a prima facie showing that this Court has specific personal jurisdiction

   over the [d]efendants. [The] [d]efendants, alleged to be residing or operating in outside

   [sic] the United States, and are alleged to have committed a tortious act within the state

   of Florida in satisfaction of Fla. Stat. § 48.193(1)(b).”). 6

          In sum, Plaintiff has demonstrated that this Court has both subject-matter and

   personal jurisdiction over the Defaulted Defendants.




   5      Perez v. Wells Fargo N.A., 774 F.3d 1329, 1339 (11th Cir. 2014).
   6      See also Lead Creation Inc. v. P’ships & Unincorporated Ass’ns Identified on Schedule A,
   No. 8:23-CV-49-CEH-CPT, 2023 WL 1993971, at *2 (M.D. Fla. Feb. 14, 2023) (“[The]
   [p]laintiff has demonstrated a prima facie showing that this Court has personal jurisdiction
   over the [d]efendants, who are alleged to be residing or operating in the People’s
   Republic of China, because the [d]efendants directly target their business activities
   toward consumers in the United States, including Florida. Specifically, [the] [p]laintiff
   has provided a basis to conclude that [the] [d]efendants have targeted sales to Florida
   residents by setting up and operating e-commerce stores that target United States
   consumers using one or more [s]eller [a]liases, offer shipping to the United States,
   including Florida, accept payment in U.S. dollars and have sold the same product that
   infringes directly and/or indirectly [the] [p]laintiff’s patent-in-suit to residents of
   Florida.”).
                                                  12
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 13 of 28




          c.     No Possibility of Inconsistent Judgments

          In Daka Rsch., Inc. v. Individuals, Partnerships & Unincorporated Associations Identified

   on Schedule “A”, this Court denied without prejudice a motion for default judgment

   against some (but not all) defendants because “the possibility of inconsistent judgments

   between the [d]efaulting and [n]on-[d]efaulting [d]efendants weigh[ed] in favor of

   denying [the] [p]laintiff’s request for a default judgment as premature.” No. 22-CV-60246,

   2022 WL 17583434, at *1 (S.D. Fla. Oct. 27, 2022), report and recommendation adopted, ECF

   No. 73 (S.D. Fla. Mar. 21, 2023).

          Notably, the operative complaint in Daka Rsch., Inc. alleged one count of patent

   infringement against all defendants and contained allegations that the defendants acted

   in concert with each other to infringe on the plaintiff’s patent. Id. at *3. 7 Moreover, “[t]he



   7      Specifically, the operative complaint in Daka Rsch., Inc. alleged that:

          [The] [d]efendants “without any authorization or license from [the]
          [p]laintiff, have jointly and severally, knowingly and willfully offered for
          sale, sold, and/or imported into the United States for subsequent resale or
          use products that infringe directly and/or indirectly the [p]laintiff’s
          [p]atents.” [It] further allege[d] that: (i) [the] [d]efendants, either
          individually or jointly, operate one or more e-commerce stores; (ii) [the]
          [d]efendants are in constant communication with each other and
          regularly participate in QQ.com chat rooms and through websites (such
          as sellerdefense.cn, kaidianyo.com, and kuajingvs.com) regarding tactics
          for operating multiple accounts, evading detection, pending litigation,
          and potential new lawsuits; and (iii) [the] [d]efendants are an interrelated
          group of infringers working in active concert to knowingly and willfully
          manufacture, import, distribute, offer for sale, and sell [i]nfringing
                                                13
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 14 of 28




   [m]otion [for default judgment] . . . [was] silent regarding the allegations in the

   [operative] [c]omplaint of joint and several liability and the possibility of inconsistent

   liability between the [d]efaulting and [n]on-[d]efaulting [d]efendants.” Id.

           Here, the Amended Complaint [ECF No. 10] does not allege that Defendants are

   jointly and severally liable or that they worked together to violate the law. Moreover,

   Plaintiff asserts in the instant motion that “[t]here are no allegations of joint liability or

   possibility of inconsistent liability between the Default[ed] Defendants.” [ECF No. 131, p.

   1]; id. at 9.

           Additionally, at the Undersigned’s direction [ECF No. 134], Plaintiff filed a notice

   representing that “[a]t the present time there are no remaining Defendants in this action

   that have not been defaulted.” [ECF No. 137].

           Based on Plaintiff’s submissions [ECF Nos. 131; 137] and representations to the

   Court, the Undersigned is persuaded that the entry of a default judgment against the

   Defaulted Defendants will not lead to the possibility of inconsistent liability. See Max'is

   Creations, Inc. v. The Individuals, P’ships, & Unincorporated Ass’ns Identified on Schedule “A”,

   No. 21-CV-22920, 2022 WL 104216, at *2 (S.D. Fla. Jan. 11, 2022) (finding “no possibility




           [p]roducts in the same transaction, occurrence, or series of transactions or
           occurrences.

   2022 WL 17583434, at *3 (emphasis added; record citations omitted).
                                            14
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 15 of 28




   of inconsistent liability between the [d]efendants” where “[the] [p]laintiff ha[d] stated in

   its [m]otion that there [were] no allegations of joint and several liability with respect to

   damages” and “[t]he [d]efendants remaining in the case ha[d] not appeared and ha[d]

   defaulted”); Safety Nailer LLC v. Individuals, P’ships , & Unincorporated Ass’ns Identified on

   Schedule “A”, No. 21-CV-22703, 2021 WL 6197744, at *2 (S.D. Fla. Dec. 30, 2021) (finding

   “a sufficient basis in the pleading for the default judgment to be entered in favor of [the]

   [p]laintiff with respect to the defaulting [d]efendants” where “[the] [p]laintiff has stated

   in its [m]otion that there [were] no allegations of joint and several liability with respect

   to damages” and “[the] [d]efendants remaining in the case ha[d] not appeared and ha[d]

   defaulted”).

          d.      Liability

          As noted above, Plaintiff has alleged a single count of patent infringement against

   Defendants. The Amended Complaint alleges that Plaintiff is the owner of the 664 Patent,

   a federally registered patent. [ECF No. 10, ¶ 1]. A copy of the 664 Patent is attached as

   Exhibit 1 to the Amended Complaint. [ECF No. 10-1]. “A properly registered patent is

   presumed to be valid.” Kiss Nail Prod., Inc. v. Shenzhen Jinri Elec. Appliance Co., No.

   CV185625PKCAYS, 2020 WL 4679631, at *5 (E.D.N.Y. July 23, 2020), report and

   recommendation adopted, No. 18CV5625PKCAYS, 2020 WL 4676415 (E.D.N.Y. Aug. 12,

   2020) (citing 35 U.S.C. § 282). “[O]vercoming that presumption requires clear and


                                                15
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 16 of 28




   convincing evidence.” Spectrum Pharms., Inc. v. Sandoz Inc., 802 F.3d 1326, 1333 (Fed. Cir.

   2015). Here, the Defaulted Defendants have not challenged this presumption or otherwise

   participated in this lawsuit. Based on the uncontested record, Plaintiff is the owner of a

   valid patent.

          Under the Patent Act, “whoever without authority makes, uses, offers to sell, or

   sells any patented invention, within the United States or imports into the United States

   any patented invention during the term of the patent therefor, infringes the patent.” 35

   U.S.C. § 271(a). In the instant case, Plaintiff has alleged the infringement of a design

   patent. See [ECF No. 10, ¶ 1 (“This is a civil action for design patent infringements

   pursuant to the Patent Act, 35 U.S.C. § 101 et seq., including 35 U.S.C. § 271.”)].

          This Court has explained that:

          A design patent is infringed when, “during the term of a patent for a design,
          without license of the owner” a defendant “(1) applies the patented design,
          or any colorable imitation thereof, to any article of manufacture for the
          purpose of sale, or (2) sells or exposes for sale any article of manufacture to
          which such design or colorable imitation has been applied." 35 U.S.C. § 289.
          “Determining whether a design patent is infringed is a two-step process.
          First, when appropriate, the design patent's claims are construed. Second,
          the patented design is compared to the accused device.” Pride Family Brands,
          Inc. v. Carl’s Patio, Inc., 992 F. Supp. 2d 1214, 1223-24 (S.D. Fla. 2014) “The
          ‘ordinary observer’ test is the sole test for determining whether a design
          patent has been infringed.” Columbia Sportswear N. Am., Inc. v. Seirus
          Innovative Accessories, Inc., 942 F.3d 1119, 1129 (Fed. Cir. 2019) (citing
          Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008)). Under
          this test, “if, in the eye of an ordinary observer, giving such attention as a
          purchaser usually gives, two designs are substantially the same, if the
          resemblance is such as to deceive such an observer, inducing him to
                                                 16
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 17 of 28




          purchase one supposing it to be the other, the first one patented is infringed
          by the other.” Gorham Mfg. Co. v. White, 81 U.S. 511, 528, 14 Wall. 511, 20 L.
          Ed. 731 (1871). “Minor differences between a patented design and an
          accused article's design cannot, and shall not, prevent a finding of
          infringement.” Crocs, Inc. v. Int'l Trade Com’n, 598 F.3d 1294, 1303 (Fed. Cir.
          2010) (quoting Payless Shoesource, Inc. v. Reebok Intern. Ltd., 998 F.2d 985, 991
          (Fed. Cir. 1993)) (cleaned up).

   XYZ Corp. v. Individuals, P’ships, & Unincorporated Associations Identified on Schedule “A”,

   No. 22-CV-24022, 2023 WL 2815123, at *2 (S.D. Fla. Apr. 5, 2023) (emphasis added); see

   also Shenzhen Changyu Tech. Co. v. Individuals, P’ships & Unincorporated Associations

   Identified on Schedule A, No. 21-22138-CIV, 2021 WL 4991242, at *2 (S.D. Fla. Sept. 13, 2021)

   (“[The] [p]laintiff must demonstrate that the accused product infringes a patented design.

   First, the Court must perform claim construction on the design patent claims. See Catalina

   Lighting, Inc. v. Lamps Plus, Inc., 295 F.3d 1277, 1285 (Fed. Cir. 2002). Second, the Court

   must apply the “ordinary observer” test for design patent infringement. Egyptian Goddess,

   Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008).”).

          In Shenzhen Changyu Tech. Co., this Court found that the plaintiff had met its

   burden of establishing design patent infringement liability, in the context of a default

   final judgment motion, where:

          [t]he well-pleaded factual allegations of . . . [the] [c]omplaint properly
          contain[ed] the elements for the [patent infringement] claim and [were]
          admitted by virtue of [the] [d]efendants’ defaults. Moreover, the
          [c]omplaint’s factual allegations ha[d] been substantiated by sworn
          declarations and other evidence and establish[ed] [the] [d]efendants’
          liability for the claim asserted.
                                                  17
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 18 of 28




   Id. at *3 (record citations omitted).

          Similarly here, the Amended Complaint alleges that:

          3.      Without Plaintiff’s authorization or license, Defendants are
          manufacturing, importing, promoting, reproducing, offering for sale,
          selling, and/or distributing goods that incorporate and infringe Plaintiff’s
          Patent within this District through various Internet based ecommerce stores
          and fully interactive commercial Internet websites operating under the
          seller identification names set forth on Schedule “A” . . . . Such infringement
          is both deliberate and willful.

                                                ***

          21.    Plaintiff has not granted a license or any other authorizations to
          Defendants to make, use, offer for sale, sell and/or import goods that
          embody the design patented in the 664 Patent which is proprietary to
          Plaintiff.

                                                ***

          28.    Defendants’ use of Plaintiff’s Patent to create the Counterfeit Copies,
          is without Plaintiff’s consent or authorization.

                                                ***

          40.    Without Plaintiff’s permission or authorization, Defendants have
          infringed one or more of Plaintiff’s exclusive rights relating to the federally
          registered 664 Patent by importing, manufacturing, offering for sale, and/or
          selling Counterfeit Copies which embody the design covered by Plaintiff’s
          Patent.

   Id. at ¶¶ 3, 21, 28, 40.




                                                18
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 19 of 28




         Additionally, in support of his patent infringement claim, Plaintiff has submitted

   his own sworn declaration [ECF No. 11] and the sworn declaration of his attorney [ECF

   No. 12]. Attached as Schedule C [ECF No. 131-1] to the instant motion is a side-by-side

   pictorial comparison of Plaintiff’s patented pet center control seat and each Defaulted

   Defendant’s infringing product.

         In cases involving design patents:

         If the resemblance between the two designs is sufficient to deceive the
         ordinary observer, inducing him/her to purchase one thinking it was the
         other, then the first one patented is infringed by the other. Pride Fam. Brands,
         Inc. v. Carl’s Patio, Inc., 992 F. Supp. 2d 1214, 1224 (S.D. Fla. 2014) (citation
         omitted). A proper comparison may include a side-by-side view of the
         design patent drawings and the accused products, and minor differences
         between a patented design and the design of an accused product does not
         preclude a finding of infringement. Int’l Seaway Trading Corp. v. Walgreens
         Corp., 589 F.3d 1233, 1243 (Fed. Cir. 2009).

   Daka Rsch., Inc., 2023 WL 5310240, at *3 (emphasis added).

         Here, the well-pled allegations in the Amended Complaint, deemed admitted by

   virtue of the default 8 and bolstered by sworn declarations and other record evidence,

   including side-by-side comparisons of the 664 Patent and the infringing products,

   establish the Defaulted Defendants’ liability under the Patent Act.

         Moreover, in his preliminary injunction Order, Judge Scola observed that:

         A simple comparison of the Injunction Defendants’ infringing goods
         with [Plaintiff]’s Patent and any layman can observe the Injunction

   8     Perez, 774 F.3d at 1339.
                                                19
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 20 of 28




          Defendants’ infringement of Zhou’s exclusive patent rights as the images
          are virtually exact duplicates or substantially similar images to the ’664
          Patent. (Compare Patent at Ex. 1 (ECF No. 10-1) with screenshots of the
          Injunction Defendants’ products on their e-commerce stores (Sch. B., ECF
          Nos. 12-1 to 12-9); Humberto Rubio, December 20, 2022, Decl. (“Rubio TRO
          Decl.”) at ¶ 5, ECF No. 12; [Plaintiff] Decl. at ¶¶ 12–15).

   [ECF No. 43, p. 2 (emphasis added)]. In sum, Plaintiff showed that the Defaulted

   Defendants have infringed on the 664 Patent.

          e.     Damages

          “Once a plaintiff has established a sufficient basis for liability, the Court must

   conduct an inquiry to determine the appropriate damages.” Gov’t Emps. Ins. Co. v.

   Compass Med. Centers Inc., No. 21-CV-23623, 2022 WL 17653816, at *2 (S.D. Fla. Nov. 10,

   2022), report and recommendation adopted, No. 21-23623-CIV, 2022 WL 17602650 (S.D. Fla.

   Dec. 13, 2022). Even in the default judgment context, the Court “has an obligation to

   assure that there is a legitimate basis for any damage award it enters.” Anheuser Busch,

   Inc. v. Philpot, 317 F.3d 1264, 1266 (11th Cir. 2003). “Although a defaulted defendant

   admits well-pleaded allegations of liability, allegations relating to the amount of damages

   are not admitted by virtue of default. Rather, the Court determines the amount and

   character of damages to be awarded.” Miller v. Paradise of Port Richey, Inc., 75 F. Supp. 2d

   1342, 1346 (M.D. Fla. 1999) (citing 10A Charles Alan Wright, Arthur R. Miller & Mary Kay

   Kane, Fed. Prac. & Proc. Civ. § 2688 at 58–59 (3d ed.1998)).



                                               20
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 21 of 28




          Here, Plaintiff seeks: (1) the entry of a permanent injunction and (2) monetary

   damages. As discussed below, Plaintiff is entitled to the relief requested.

                  i.    Injunctive Relief

          Plaintiff seeks the issuance of a permanent injunction. [ECF No. 131, pp. 9-12]. A

   court may award injunctive relief in patent infringement cases. See Daka Rsch., Inc., 2023

   WL 5310240, at *4 (noting that “[p]ermanent injunctive relief to prevent continued patent

   infringement is appropriate” where the required factors are met); Unilin Beheer B.V. v.

   U.S. Wood Flooring, Inc., No. 17-60107-CIV, 2017 WL 5953423, at *6 (S.D. Fla. June 22, 2017)

   (“In a patent infringement action, a district court ‘may grant injunctions in accordance

   with the principles of equity to prevent the violation of any right secured by patent, on

   such terms as the court deems reasonable.’” (quoting 35 U.S.C. § 283.)). Moreover,

   “[i]njunctive relief is available in a default judgment setting.” XYZ Corp., 2023 WL

   2815123, at *4 (citing PetMed Express, Inc. v. MedPets.Com, Inc., 336 F. Supp. 2d 1213, 1223

   (S.D. Fla. 2004)).

          Here, Judge Scola already entered a preliminary injunction [ECF No. 43] and

   Plaintiff represents to the Court that “[n]o change has occurred since then[.]” [ECF No.

   131, p. 10].

          To obtain a permanent injunction, Plaintiff must show: (1) irreparable injury; (2)

   an inadequate remedy at law; (3) that the balance of hardships weighs in favor of issuing


                                               21
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 22 of 28




   an injunction; and (4) the issuance of an injunction would not disserve the public interest.

   eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391, 126 S. Ct. 1837, 1839, 164 L. Ed. 2d 641

   (2006).

             All four factors are met here. Plaintiff has shown that he is the owner of the 664

   Patent and that the Defaulted Defendants (without Plaintiff’s permission or license) are

   promoting, selling, reproducing, offering for sale, and/or distributing goods using

   unauthorized copies of the 664 Patent through various internet-based e-commerce stores

   and fully interactive commercial internet websites. [ECF No. 10]. Therefore, consumers

   will continue to be confused by the Defaulted Defendants’ unauthorized use of the 664

   Patent.

             Plaintiff has “expended time, money and other resources developing, advertising

   and otherwise promoting the 664 Patent.” [ECF No. 11-1, ¶ 7]. He attests that monetary

   damages are insufficient “to address the loss of control over [his] intellectual property

   and goodwill” and that the infringing activity “impairs the market value of the 664 Patent

   since others competing with Defendants’ businesses, or in related business areas, will not

   want to obtain a license to [his] 064 [sic] Patent if it is already associated with a competing

   business” and “potential licensees of [his] 664 Patent will not want to pay license fees if

   they see other commercial enterprises taking and using [his] design patent for their own

   commercial purposes without paying any fee at all.” Id. at ¶¶ 17–18.


                                                 22
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 23 of 28




          Thus, so long as the Defaulted Defendants continue their infringing activities,

   Plaintiff loses his ability to control his patent and will continue to suffer irreparable harm

   to his intellectual property and goodwill. See Levi Strauss & Co. v. Sunrise Int’l Trading Inc.,

   51 F.3d 982, 986 (11th Cir. 1995) (“There is no doubt that the continued sale of thousands

   of pairs of counterfeit jeans would damage LS & CO’s business reputation and decrease

   its legitimate sales.”); Ferrellgas Partners, L.P. v. Barrow, 143 F. App’x 180, 190 (11th Cir.

   2005) (noting that “[g]rounds for irreparable injury include loss of control of reputation,

   loss of trade, and loss of goodwill. Irreparable injury can also be based upon the

   possibility of confusion.” (citation omitted)).

          Plaintiff has also shown he has no adequate remedy at law because monetary

   damages alone will not redress the harm to him from the Defaulted Defendant’s

   infringement. See Chanel, Inc. v. besumart.com, 240 F. Supp. 3d 1283, 1290 (S.D. Fla. 2016)

   (“[The] [p]laintiff has no adequate remedy at law so long as [the] [d]efendants continue

   to operate the [s]ubject [d]omain [n]ames and [s]eller IDs because [the] [p]laintiff cannot

   control the quality of what appears to be its products in the marketplace. An award of

   money damages alone will not cure the injury to [the] [p]laintiff’s reputation and

   goodwill that will result if [the] [d]efendants’ infringing and counterfeiting actions are

   allowed to continue.” (record citation omitted)).




                                                 23
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 24 of 28




          The balance of harms also weighs in favor of issuing a permanent injunction.

   Plaintiff’s injury without an injunction outweighs the impact an injunction would have

   on the Defaulted Defendants. See Chanel, Inc. v. Replicachanelbag, 362 F. Supp. 3d 1256,

   1264 (S.D. Fla. 2019) (finding that the balance of harms favored the issuance of a

   permanent injunction where “[the] [p]laintiff face[d] hardship from loss of sales and its

   inability to control its reputation in the marketplace,” whereas “[the] [d]efendants face[d]

   no hardship if they [were] prohibited from the infringement of [the] [p]laintiff’s

   trademarks, which is an illegal act.”).

          Lastly, the public interest will not be disserved if the Court were to permanently

   enjoin the Defaulted Defendants because “a permanent injunction to prevent consumer

   confusion serves the public interest.” Badia Spices, Inc. v. Gel Spice Co., Inc., No. 1:15-CV-

   24391-MGC, 2019 WL 7344820, at *2 (S.D. Fla. Oct. 23, 2019); see also Mantua Mfg. Co. v.

   Irize Mattress, Inc., No. 20-25036-CIV, 2021 WL 3375837, at *5 (S.D. Fla. Feb. 24, 2021) (“The

   public interest is served by the entry of a permanent injunction in that further confusion

   and mistake by the public will be prevented.”).

          In sum, Plaintiff has shown entitlement to permanent injunctive relief. Therefore,

   the Undersigned respectfully recommends that the Court enter permanent injunctive

   relief against the Defaulted Defendants consistent with the terms listed in Plaintiff’s

   proposed final default judgment and permanent injunction [ECF No. 131-5, pp. 4–6].


                                                24
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 25 of 28




               ii.      Monetary Damages

          Plaintiff seeks monetary damages pursuant to 35 U.S.C. § 289. [ECF No. 131, p. 12];

   see also Amended Complaint [ECF No. 10, p. 10 (in the prayer for relief, listing monetary

   damages pursuant to § 289)]. “Under 35 U.S.C. § 289, a plaintiff in a case involving the

   unauthorized application or colorable imitation of a patented design on any article for

   purpose of sale may elect to receive the infringer’s ‘total profit, but not less than $250.’”

   Max’is Creations, Inc., 2022 WL 104216, at *9 (quoting 35 U.S.C. § 289).

          Here, Plaintiff asks for an “award the greater of the amount restrained [by the e-

   commerce platforms pursuant to this Court’s preliminary injunction order [ECF No. 43]]

   or $250.00 for each Defaulting Defendant.” [ECF No. 131, p. 14]. Plaintiff notes that

   “[s]ince [the] Default[ed] Defendants have chosen not to participate in these proceedings,

   Plaintiff has limited available information regarding [the] Default[ed] Defendants’ profits

   from the sale of Infringing Products.” Id.

          Plaintiff has filed a declaration from his counsel which includes a chart listing the

   amount of restrained funds 9 for each Defaulted Defendant or denoting Plaintiff’s

   preference for the $250.00 minimum. [ECF No. 131-1, ¶ 11]. The Undersigned has added

   the sums listed on this chart, which total $145,163.92.




   9      The balances in the restrained accounts range from $0.00 to $52,518.57. [ECF No.
   131-1, ¶ 10].
                                              25
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 26 of 28




          In Daka Rsch., Inc., this Court awarded the amounts restrained in the defaulted

   defendants’ e-commerce accounts to compensate the plaintiff for the infringement of its

   patent, noting that:

          based on the record before the Court, the undersigned finds that [the]
          [p]laintiff is entitled to monetary damages based on the [d]efaulting
          [d]efendants’ profits. More specifically, in the [m]otion, [the] [p]laintiff has
          estimated the reasonable royalties to be the amounts currently restrained
          by [t]hird [p]arty [p]roviders holding funds for the [d]efaulting
          [d]efendants. In support of its request for monetary damages, [the]
          [p]laintiff has submitted the [d]eclaration of [plaintiff’s counsel], which lists
          amounts held by Amazon in the [d]efaulting [d]efendants’ known financial
          accounts. These amounts range from $1,039.16 to $65,925.37 for each of the
          [d]efaulting [d]efendants.

   2023 WL 5310240, at *5 (emphasis added; record citations omitted).

          Similarly here, the Undersigned finds that the greater of $250.00 or the amount

   restrained in the e-commerce account of each Defaulted Defendant is an adequate and

   reasonable measure of damages to compensate Plaintiff for the patent violation, given

   that the Defaulted Defendants have chosen not to participate in this lawsuit and the

   Defaulted Defendants’ lost profits from the infringement cannot be ascertained.




                                                 26
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 27 of 28




          Accordingly, the Undersigned respectfully recommends that the Court award

   Plaintiff the greater of $250.00 or the amounts restrained in the e-commerce accounts

   (totaling $145,163.92) as monetary damages for the Defaulted Defendants’ infringement.

   IV.    Conclusion

          For the reasons stated above, the Court should grant Plaintiff’s motion, issue a

   permanent injunction against the Defaulted Defendants, and award the requested sums

   in monetary damages (totaling $145,163.92).

          Plaintiff will provide a copy of this Report and Recommendations to the Defaulted

   Defendants in the same manner in which the Court authorized alternative service of

   process on Defendants. [ECF No. 17]. Plaintiff will file a notice of compliance on CM/ECF

   by no later than Wednesday, October 11, 2023.

   V.     Objections

          The parties will have fourteen (14) days from the date of being served with a copy

   of this Report and Recommendations within which to file written objections, if any, with

   United States District Judge Robert N. Scola, Jr. Each party may file a response to the

   other party’s objection within fourteen (14) days of the objection. Failure to file objections

   timely shall bar the parties from a de novo determination by the District Judge of an issue

   covered in the Report and shall bar the parties from attacking on appeal unobjected-to

   factual and legal conclusions contained in this Report except upon grounds of plain error


                                                27
Case 1:22-cv-24013-RNS Document 138 Entered on FLSD Docket 10/04/2023 Page 28 of 28




   if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140,

   149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in Chambers, in Miami, Florida, on October

   4, 2023.




   Copies furnished to:
   The Honorable Robert N. Scola, Jr.
   All Counsel of Record




                                                 28
